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                            STATE OF NEW YORK
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                                 Extraordinary Session

                                   IN SENATE
                                      July 1, 2022
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     Introduced by Sens. STEWART-COUSINS, MYRIE, KAVANAGH -- (at request of
       the Governor) -- read twice and ordered printed, and when printed to
       be committed to the Committee on Rules

     AN  ACT to amend the penal law, the general business law, the executive
       law, the civil practice law and rules and the state finance law, in
       relation to licensing and other provisions relating to firearms

       The People of the State of New York, represented in Senate and Assem-
     bly, do enact as follows:

 1     Section 1. The section heading and subdivisions 1, 1-a, 2, 4, 4-a,
 2   4-b, 10 and 11 of section 400.00 of the penal law, subdivisions 1 and 10
 3   as amended by chapter 1 of the laws of 2013, paragraph (c) of subdivi-
 4   sion 1 as amended by chapter 60 of the laws of 2018, paragraph (j) of
 5   subdivision 1 as amended by chapter 208 of the laws of 2022, subdivision
 6   1-a as added by section 2 of part N of chapter 55 of the laws of 2020,
 7   subdivision 2 as amended by chapter 212 of the laws of 2022, subdivision
 8   4 as amended by chapter 242 of the laws of 2019, subdivision 4-a as
 9   added by chapter 233 of the laws of 1980, subdivision 4-b as added by
10   chapter 446 of the laws of 1997, paragraph (c) of subdivision 10 as
11   added by chapter 212 of the laws of 2022, subdivision 11 as amended by
12   chapter 207 of the laws of 2022, are amended and a new subdivision 4-c
13   is added to read as follows:
14   [Licenses to carry, possess, repair and dispose of] Licensing and other
15   provisions relating to firearms.
16     1. Eligibility. No license shall be issued or renewed pursuant to this
17   section except by the licensing officer, and then only after investi-
18   gation and finding that all statements in a proper application for a
19   license are true. No license shall be issued or renewed except for an
20   applicant (a) twenty-one years of age or older, provided, however, that
21   where such applicant has been honorably discharged from the United
22   States army, navy, marine corps, air force or coast guard, or the
23   national guard of the state of New York, no such age restriction shall

      EXPLANATION--Matter in italics (underscored) is new; matter in brackets
                           [ ] is old law to be omitted.
                                                                LBD12053-04-2
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 1   apply; (b) of good moral character, which, for the purposes of this
 2   article, shall mean having the essential character, temperament and
 3   judgement necessary to be entrusted with a weapon and to use it only in
 4   a manner that does not endanger oneself or others; (c) who has not been
 5   convicted anywhere of a felony or a serious offense or who is not the
 6   subject of an outstanding warrant of arrest issued upon the alleged
 7   commission of a felony or serious offense; (d) who is not a fugitive
 8   from justice; (e) who is not an unlawful user of or addicted to any
 9   controlled substance as defined in section 21 U.S.C. 802; (f) who being
10   an alien (i) is not illegally or unlawfully in the United States or (ii)
11   has not been admitted to the United States under a nonimmigrant visa
12   subject to the exception in 18 U.S.C. 922(y)(2); (g) who has not been
13   discharged from the Armed Forces under dishonorable conditions; (h) who,
14   having been a citizen of the United States, has not renounced his or her
15   citizenship; (i) who has stated whether he or she has ever suffered any
16   mental illness; (j) who has not been involuntarily committed to a facil-
17   ity under the jurisdiction of an office of the department of mental
18   hygiene pursuant to article nine or fifteen of the mental hygiene law,
19   article seven hundred thirty or section 330.20 of the criminal procedure
20   law or substantially similar laws of any other state, section four
21   hundred two or five hundred eight of the correction law, section 322.2
22   or 353.4 of the family court act, has not been civilly confined in a
23   secure treatment facility pursuant to article ten of the mental hygiene
24   law, or has not been the subject of a report made pursuant to section
25   9.46 of the mental hygiene law; (k) who has not had a license revoked or
26   who is not under a suspension or ineligibility order issued pursuant to
27   the provisions of section 530.14 of the criminal procedure law or
28   section eight hundred forty-two-a of the family court act; (l) in the
29   county of Westchester, who has successfully completed a firearms safety
30   course and test as evidenced by a certificate of completion issued in
31   his or her name and endorsed and affirmed under the penalties of perjury
32   by a duly authorized instructor, except that: (i) persons who are honor-
33   ably discharged from the United States army, navy, marine corps or coast
34   guard, or of the national guard of the state of New York, and produce
35   evidence of official qualification in firearms during the term of
36   service are not required to have completed those hours of a firearms
37   safety course pertaining to the safe use, carrying, possession, mainte-
38   nance and storage of a firearm; [and] (ii) persons who were licensed to
39   possess a pistol or revolver prior to the effective date of this para-
40   graph are not required to have completed a firearms safety course and
41   test, provided, however, persons with a license issued under paragraph
42   (f) of subdivision two of this section prior to the effective date of
43   the laws of two thousand twenty-two which amended this paragraph shall
44   be required to complete the training required by subdivision nineteen of
45   this section prior to the recertification of such license; and (iii)
46   persons applying for a license under paragraph (f) of subdivision two of
47   this section on or after the effective date of the chapter of the laws
48   of two thousand twenty-two which amended this paragraph who shall be
49   required to complete the training required under subdivision nineteen of
50   this section for such license; (m) who has not had a guardian appointed
51   for him or her pursuant to any provision of state law, based on a deter-
52   mination that as a result of marked subnormal intelligence, mental
53   illness, incompetency, incapacity, condition or disease, he or she lacks
54   the mental capacity to contract or manage his or her own affairs; [and
55   (n) concerning whom no good cause exists for the denial of the license.]
56   (n) for a license issued under paragraph (f) of subdivision two of this
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 1   section, that the applicant has not been convicted within five years of
 2   the date of the application of any of the following: (i)   assault    in
 3   the     third degree, as defined in section 120.00 of this chapter; (ii)
 4   misdemeanor driving while intoxicated, as defined in section eleven
 5   hundred ninety-two of the vehicle and traffic law; or (iii) menacing, as
 6   defined in section 120.15 of this chapter; and (o) for a license issued
 7   under paragraph (f) of subdivision two of this section, the applicant
 8   shall meet in person with the licensing officer for an interview and
 9   shall, in addition to any other information or forms required by the
10   license application submit to the licensing officer the following infor-
11   mation:     (i) names and contact information for      the   applicant's
12   current spouse, or domestic partner, any other adults residing in the
13   applicant's home, including any adult children of the applicant, and
14   whether or not there are minors residing, full time or part time, in the
15   applicant's home; (ii) names and contact information of no less than
16   four character references who   can attest to the    applicant's    good
17   moral character and that such applicant has not engaged in any acts, or
18   made any statements that suggest they are likely to engage in conduct
19   that would result in harm to themselves or others; (iii) certification
20   of completion of the training required in subdivision nineteen of this
21   section; (iv) a list of former and current social media accounts of
22   the applicant from the past three years to confirm the information
23   regarding the applicants character and conduct as required in subpara-
24   graph (ii) of this paragraph; and (v) such other information required by
25   the licensing officer that is reasonably necessary and related to the
26   review of the licensing application.
27     1-a. No person shall engage in the business of gunsmith or dealer in
28   firearms unless licensed pursuant to this section. An applicant to
29   engage in such business shall also be a citizen of the United States,
30   more than twenty-one years of age and shall be required to maintain a
31   place of business in the city or county where the license is issued. For
32   such business, if the applicant is a firm or partnership, each member
33   thereof shall comply with all of the requirements set forth in this
34   subdivision and if the applicant is a corporation, each officer thereof
35   shall so comply.
36     [1-a.] 1-b. For purposes of subdivision one of this section, serious
37   offense shall include an offense in any jurisdiction or the former penal
38   law that includes all of the essential elements of a serious offense as
39   defined by subdivision seventeen of section 265.00 of this chapter.
40   Nothing in this subdivision shall preclude the denial of a license based
41   on the commission of, arrest for or conviction of an offense in any
42   other jurisdiction which does not include all of the essential elements
43   of a serious offense.
44     2. Types of licenses. A license for gunsmith or dealer in firearms
45   shall be issued to engage in such business. A license for a semiautomat-
46   ic rifle, other than an assault weapon or disguised gun, shall be issued
47   to purchase or take possession of such a [firearm] semiautomatic rifle
48   when such transfer of ownership occurs on or after the effective date of
49   [the] chapter two hundred twelve of the laws of two thousand twenty-two
50   that amended this subdivision. A license for a pistol or revolver, other
51   than an assault weapon or a disguised gun, shall be issued to (a) have
52   and possess in his dwelling by a householder; (b) have and possess in
53   his place of business by a merchant or storekeeper; (c) have and carry
54   concealed while so employed by a messenger employed by a banking insti-
55   tution or express company; (d) have and carry concealed by a justice of
56   the supreme court in the first or second judicial departments, or by a
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 1   judge of the New York city civil court or the New York city criminal
 2   court; (e) have and carry concealed while so employed by a regular
 3   employee of an institution of the state, or of any county, city, town or
 4   village, under control of a commissioner of correction of the city or
 5   any warden, superintendent or head keeper of any state prison, peniten-
 6   tiary, workhouse, county jail or other institution for the detention of
 7   persons convicted or accused of crime or held as witnesses in criminal
 8   cases, provided that application is made therefor by such commissioner,
 9   warden, superintendent or head keeper; (f) have and carry concealed,
10   without regard to employment or place of possession subject to the
11   restrictions of state and federal law, by any person [when proper cause
12   exists for the issuance thereof]; and (g) have, possess, collect and
13   carry antique pistols which are defined as follows: (i) any single shot,
14   muzzle loading pistol with a matchlock, flintlock, percussion cap, or
15   similar type of ignition system manufactured in or before [l898] 1898,
16   which is not designed for using rimfire or conventional centerfire fixed
17   ammunition; and (ii) any replica of any pistol described in clause (i)
18   hereof if such replica[--];
19     (1) is not designed or redesigned for using rimfire or conventional
20   centerfire fixed ammunition, or
21     (2) uses rimfire or conventional centerfire fixed ammunition which is
22   no longer manufactured in the United States and which is not readily
23   available in the ordinary channels of commercial trade.
24     4. Investigation. Before a license is issued or renewed, there shall
25   be an investigation of all statements required in the application by the
26   duly constituted police authorities of the locality where such applica-
27   tion is made, including but not limited to such records as may be acces-
28   sible to the division of state police or division of criminal justice
29   services pursuant to section 400.02 of this article. For that purpose,
30   the records of the appropriate office of the department of mental
31   hygiene concerning previous or present mental illness of the applicant
32   shall be available for inspection by the investigating officer of the
33   police authority. Where the applicant is domiciled in a foreign state,
34   the investigation shall include inquiry of the foreign state for records
35   concerning the previous or present mental illness of the applicant, and,
36   to the extent necessary for inspection by the investigating officer, the
37   applicant shall execute a waiver of confidentiality of such record in
38   such form as may be required by the foreign state. In order to ascertain
39   any previous criminal record, the investigating officer shall take the
40   fingerprints and physical descriptive data in quadruplicate of each
41   individual by whom the application is signed and verified. Two copies of
42   such fingerprints shall be taken on standard fingerprint cards eight
43   inches square, and one copy may be taken on a card supplied for that
44   purpose by the federal bureau of investigation; provided, however, that
45   in the case of a corporate applicant that has already been issued a
46   dealer in firearms license and seeks to operate a firearm dealership at
47   a second or subsequent location, the original fingerprints on file may
48   be used to ascertain any criminal record in the second or subsequent
49   application unless any of the corporate officers have changed since the
50   prior application, in which case the new corporate officer shall comply
51   with procedures governing an initial application for such license. When
52   completed, one standard card shall be forwarded to and retained by the
53   division of criminal justice services in the executive department, at
54   Albany. A search of the files of such division and written notification
55   of the results of the search shall be forwarded to the investigating
56   officer and shall be made without unnecessary delay. Thereafter, such
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 1   division shall notify the licensing officer and the executive depart-
 2   ment, division of state police, Albany, of any criminal record of the
 3   applicant filed therein subsequent to the search of its files. A second
 4   standard card, or the one supplied by the federal bureau of investi-
 5   gation, as the case may be, shall be forwarded to that bureau at Wash-
 6   ington with a request that the files of the bureau be searched and
 7   notification of the results of the search be made to the investigating
 8   police authority. Of the remaining two fingerprint cards, one shall be
 9   filed with the executive department, division of state police, Albany,
10   within ten days after issuance of the license, and the other shall
11   remain on file with the investigating police authority. No such finger-
12   prints may be inspected by any person other than a peace officer, who is
13   acting pursuant to his or her special duties, or a police officer,
14   except on order of a judge or justice of a court of record either upon
15   notice to the licensee or without notice, as the judge or justice may
16   deem appropriate. Upon completion of the investigation, the police
17   authority shall report the results to the licensing officer without
18   unnecessary delay.
19     4-a. Appeals from denial of an application, renewal, recertification
20   or license revocation. If an application for a license is denied, not
21   renewed, not recertified, or revoked, the licensing officer shall issue
22   a written notice to the applicant setting forth the reasons for such
23   denial. An applicant may, within ninety days of receipt of such notice,
24   request a hearing to appeal the denial to the appeals board created by
25   the division of criminal justice services and the superintendent of
26   state police. An individual may be represented by counsel at any appear-
27   ance before the appeals board and shall be afforded an opportunity to
28   present additional evidence in support of their application.         The
29   commissioner of criminal justice services and the superintendent of
30   state police shall promulgate rules and regulations governing such
31   appeals process.
32     4-b. Processing of license applications. Applications for licenses
33   shall be accepted for processing by the licensing officer at the time of
34   presentment. Except upon written notice to the applicant specifically
35   stating the reasons for any delay, in each case the licensing officer
36   shall act upon any application for a license pursuant to this section
37   within six months of the date of presentment of such an application to
38   the appropriate authority. Such delay may only be for good cause and
39   with respect to the applicant. In acting upon an application, the
40   licensing officer shall either deny the application for reasons specif-
41   ically and concisely stated in writing or grant the application and
42   issue the license applied for.
43     [4-b.] 4-c. Westchester county firearms safety course certificate. In
44   the county of Westchester, at the time of application, the licensing
45   officer to which the license application is made shall provide a copy of
46   the safety course booklet to each license applicant. Before such license
47   is issued, such licensing officer shall require that the applicant
48   submit a certificate of successful completion of a firearms safety
49   course and test issued in his or her name and endorsed and affirmed
50   under the penalties of perjury by a duly authorized instructor.
51     10. License: expiration, certification and renewal. (a) Any license
52   for gunsmith or dealer in firearms and, in the city of New York, any
53   license to carry or possess a pistol or revolver, issued at any time
54   pursuant to this section or prior to the first day of July, nineteen
55   hundred sixty-three and not limited to expire on an earlier date fixed
56   in the license, shall, except as otherwise provided in paragraph (d) of
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 1   this subdivision, expire not more than three years after the date of
 2   issuance. In the counties of Nassau, Suffolk and Westchester, any
 3   license to carry or possess a pistol or revolver, issued at any time
 4   pursuant to this section or prior to the first day of July, nineteen
 5   hundred sixty-three and not limited to expire on an earlier date fixed
 6   in the license, shall expire not more than five years after the date of
 7   issuance; however, in the county of Westchester, any such license shall
 8   be certified prior to the first day of April, two thousand, in accord-
 9   ance with a schedule to be contained in regulations promulgated by the
10   commissioner of the division of criminal justice services, and every
11   such license shall, except as otherwise provided in paragraph (d) of
12   this subdivision, be recertified every five years thereafter. For
13   purposes of this section certification shall mean that the licensee
14   shall provide to the licensing officer the following information only:
15   current name, date of birth, current address, and the make, model, cali-
16   ber and serial number of all firearms currently possessed. Such certif-
17   ication information shall be filed by the licensing officer in the same
18   manner as an amendment. Elsewhere than in the city of New York and the
19   counties of Nassau, Suffolk and Westchester, any license to carry or
20   possess a pistol or revolver, issued at any time pursuant to this
21   section or prior to the first day of July, nineteen hundred sixty-three
22   and not previously revoked or cancelled, shall be in force and effect
23   until revoked as herein provided. Any license not previously cancelled
24   or revoked shall remain in full force and effect for thirty days beyond
25   the stated expiration date on such license. Any application to renew a
26   license that has not previously expired, been revoked or cancelled shall
27   thereby extend the term of the license until disposition of the applica-
28   tion by the licensing officer. In the case of a license for gunsmith or
29   dealer in firearms, in counties having a population of less than two
30   hundred thousand inhabitants, photographs and fingerprints shall be
31   submitted on original applications and upon renewal thereafter [only] at
32   [six] three year intervals. Upon satisfactory proof that a currently
33   valid original license has been despoiled, lost or otherwise removed
34   from the possession of the licensee and upon application containing an
35   additional photograph of the licensee, the licensing officer shall issue
36   a duplicate license.
37     (b) All licensees shall be recertified to the division of state police
38   every five years thereafter, except as otherwise provided in paragraph
39   (d) of this subdivision. Any license issued before the effective date of
40   the chapter of the laws of two thousand thirteen which added this para-
41   graph shall be recertified by the licensee on or before January thirty-
42   first, two thousand eighteen, and not less than one year prior to such
43   date, the state police shall send a notice to all license holders who
44   have not recertified by such time. Such recertification shall be in a
45   form as approved by the superintendent of state police, which shall
46   request the license holder's name, date of birth, gender, race, residen-
47   tial address, social security number, firearms possessed by such license
48   holder, email address at the option of the license holder and an affir-
49   mation that such license holder is not prohibited from possessing
50   firearms. The form may be in an electronic form if so designated by the
51   superintendent of state police. Failure to recertify shall act as a
52   revocation of such license. If the New York state police discover as a
53   result of the recertification process that a licensee failed to provide
54   a change of address, the New York state police shall not require the
55   licensing officer to revoke such license.
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 1     (c) A license to purchase or take possession of a semiautomatic rifle
 2   as defined in subdivision two of this section shall be recertified to
 3   the applicable licensing officer every five years following the issuance
 4   of such license. Failure to renew such a license shall be a violation
 5   punishable by a fine not to exceed two hundred fifty dollars, and such
 6   failure to renew shall be considered by the licensing officer when
 7   reviewing future license applications by the license holder pursuant to
 8   this chapter.
 9     (d) Licenses issued under paragraph (f) of subdivision two of this
10   section shall be recertified or renewed in the same form and manner as
11   otherwise required by this subdivision, provided however, that such
12   licenses shall be recertified or renewed every three years following the
13   issuance of such license. For licenses issued prior to the effective
14   date of this paragraph that were issued more than three years prior to
15   such date, or will expire in less than one year from such date shall be
16   recertified or renewed within one year of such date.
17     11. License: revocation and suspension. (a) The conviction of a licen-
18   see anywhere of a felony or serious offense or a licensee at any time
19   becoming ineligible to obtain a license [under this section shall oper-
20   ate as], including engaging in conduct that would have resulted in the
21   denial of a license, under this section shall operate as or be grounds
22   for, a revocation of the license. A license may be revoked or suspended
23   as provided for in section 530.14 of the criminal procedure law or
24   section eight hundred forty-two-a of the family court act. Except for a
25   license issued pursuant to section 400.01 of this article, a license may
26   be revoked and cancelled at any time in the city of New York, and in the
27   counties of Nassau and Suffolk, by the licensing officer, and elsewhere
28   than in the city of New York by any judge or justice of a court of
29   record; a license issued pursuant to section 400.01 of this article may
30   be revoked and cancelled at any time by the licensing officer or any
31   judge or justice of a court of record. A license to engage in the busi-
32   ness of dealer may be revoked or suspended for any violation of the
33   provisions of article thirty-nine-BB of the general business law. The
34   official revoking a license shall give written notice thereof without
35   unnecessary delay to the executive department, division of state police,
36   Albany, and shall also notify immediately the duly constituted police
37   authorities of the locality.   The licensing officer shall revoke any
38   license issued in which an applicant knowingly made a material false
39   statement on the application. Notice of a revocation under this subdi-
40   vision shall be issued in writing and shall include the basis for the
41   determination, which shall be supported by a preponderance of the
42   evidence. Such notice shall also include information regarding the abil-
43   ity to appeal such decision in accordance with subdivision four-a of
44   this section.
45     (b) Whenever the director of community services or his or her designee
46   makes a report pursuant to section 9.46 of the mental hygiene law, the
47   division of criminal justice services shall convey such information,
48   whenever it determines that the person named in the report possesses a
49   license issued pursuant to this section, to the appropriate licensing
50   official, who shall issue an order suspending or revoking such license.
51     (c) In any instance in which a person's license is suspended or
52   revoked under paragraph (a) or (b) of this subdivision, such person
53   shall surrender such license to the appropriate licensing official and
54   any and all firearms, rifles, or shotguns owned or possessed by such
55   person shall be surrendered to an appropriate law enforcement agency as
56   provided in subparagraph (f) of paragraph one of subdivision a of
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 1   section 265.20 of this chapter. In the event such license, firearm,
 2   shotgun, or rifle is not surrendered, such items shall be removed and
 3   declared a nuisance and any police officer or peace officer acting
 4   pursuant to his or her special duties is authorized to remove any and
 5   all such weapons.
 6     § 2. Section 837 of the executive law is amended by adding a new
 7   subdivision 23 to read as follows:
 8     23. (a) In conjunction with the superintendent of the state police,
 9   promulgate policies and procedures with regard to standardization of
10   firearms safety training required under subdivision nineteen of section
11   400.00 of the penal law, which shall include the approval of course
12   materials and promulgation of proficiency standards for live fire train-
13   ing; and
14     (b) In conjunction with the superintendent of state police, create an
15   appeals board for the purpose of hearing appeals as provided in subdivi-
16   sion four-a of section 400.00 of the penal law and promulgate rules and
17   regulations governing such appeals.
18     § 3. The executive law is amended by adding a new section 235 to read
19   as follows:
20     § 235. Firearms safety training, and licensing appeals. 1. The super-
21   intendent shall, in conjunction with the commissioner of the division of
22   criminal justice services, promulgate policies and procedures with
23   regard to standardization of firearms safety training required under
24   subdivision nineteen of section 400.00 of the penal law, which shall
25   include the approval of course materials and the promulgation of profi-
26   ciency standards for live fire training.
27     2. The superintendent, in conjunction with the commissioner of the
28   division of criminal justice services, shall create an appeals board for
29   the purpose of hearing appeals as provided in subdivision four-a of
30   section 400.00 of the penal law and promulgate rules and regulations
31   governing such appeals.
32     § 4. The penal law is amended by adding a new section 265.01-e to read
33   as follows:
34   § 265.01-e Criminal possession of a firearm, rifle or shotgun in a
35                sensitive location.
36     1. A person is guilty of criminal possession of a firearm, rifle or
37   shotgun in a sensitive location when such person possesses a firearm,
38   rifle or shotgun in or upon a sensitive location, and such person knows
39   or reasonably should know such location is a sensitive location.
40     2. For the purposes of this section, a sensitive location shall mean:
41     (a) any place owned or under the control of federal, state or local
42   government, for the purpose of government administration, including
43   courts;
44     (b) any location providing health, behavioral health, or chemical
45   dependance care or services;
46     (c) any place of worship or religious observation;
47     (d) libraries, public playgrounds, public parks, and zoos;
48     (e) the location of any program licensed, regulated, certified, fund-
49   ed, or approved by the office of children and family services that
50   provides services to children, youth, or young adults, any legally
51   exempt childcare provider; a childcare program for which a permit to
52   operate such program has been issued by the department of health and
53   mental hygiene pursuant to the health code of the city of New York;
54     (f) nursery schools, preschools, and summer camps;
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 1     (g) the location of any program licensed, regulated, certified, oper-
 2   ated, or funded by the office for people with developmental disabili-
 3   ties;
 4     (h) the location of any program licensed, regulated, certified, oper-
 5   ated, or funded by office of addiction services and supports;
 6     (i) the location of any program licensed, regulated, certified, oper-
 7   ated, or funded by the office of mental health;
 8     (j) the location of any program licensed, regulated, certified, oper-
 9   ated, or funded by the office of temporary and disability assistance;
10     (k) homeless shelters, runaway homeless youth shelters, family shel-
11   ters, shelters for adults, domestic violence shelters, and emergency
12   shelters, and residential programs for victims of domestic violence;
13     (l) residential settings licensed, certified, regulated, funded, or
14   operated by the department of health;
15     (m) in or upon any building or grounds, owned or leased, of any educa-
16   tional institutions, colleges and universities, licensed private career
17   schools, school districts, public schools, private schools licensed
18   under article one hundred one of the education law, charter schools,
19   non-public schools, board of cooperative educational services, special
20   act schools, preschool special education programs, private residential
21   or non-residential schools for the education of students with disabili-
22   ties, and any state-operated or state-supported schools;
23     (n)   any place, conveyance, or vehicle used for public transportation
24   or public transit, subway cars, train cars, buses, ferries, railroad,
25   omnibus, marine or aviation transportation; or any facility used for or
26   in connection with service in the transportation of           passengers,
27   airports, train stations, subway and rail stations, and bus terminals;
28     (o) any establishment issued a license for on-premise consumption
29   pursuant to article four, four-A, five, or six of the alcoholic beverage
30   control law where alcohol is consumed and any establishment licensed
31   under article four of the cannabis law for on-premise consumption;
32     (p) any place used for the performance, art entertainment, gaming, or
33   sporting events such as theaters, stadiums, racetracks, museums, amuse-
34   ment parks, performance venues, concerts, exhibits, conference centers,
35   banquet halls, and gaming facilities and video lottery terminal facili-
36   ties as licensed by the gaming commission;
37     (q) any location being used as a polling place;
38     (r) any public sidewalk or other public area restricted from general
39   public access for a limited time or special event that has been issued a
40   permit for such time or event by a governmental entity, or subject to
41   specific, heightened law enforcement protection, or has otherwise had
42   such access restricted by a governmental entity, provided such location
43   is identified as such by clear and conspicuous signage;
44     (s) any gathering of individuals to collectively express their consti-
45   tutional rights to protest or assemble;
46     (t) the area commonly known as Times Square, as such area is deter-
47   mined and identified by the city of New York; provided such area shall
48   be clearly and conspicuously identified with signage.
49     3. This section shall not apply to:
50     (a) consistent with federal law, law enforcement who qualify to carry
51   under the federal law enforcement officers safety act, 18 U.S.C. 926C;
52     (b) persons who are police officers as defined in subdivision thirty-
53   four of section 1.20 of the criminal procedure law;
54     (c) persons who are designated peace officers by section 2.10 of the
55   criminal procedure law;
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 1     (d) persons who were employed as police officers as defined in subdi-
 2   vision thirty-four of section 1.20 of the criminal procedure law but are
 3   retired;
 4     (e) security guards as defined by and registered under article seven-A
 5   of the general business law, who have been granted a special armed
 6   registration card, while at the location of their employment and during
 7   their work hours as such a security guard;
 8     (f) active-duty military personnel;
 9     (g) persons licensed under paragraph (c), (d) or (e) of subdivision
10   two of section 400.00 of this chapter while in the course of his or her
11   official duties;
12     (h) a government employee under the express written consent of such
13   employee's supervising government entity for the purposes of natural
14   resource protection and management;
15     (i) persons lawfully engaged in hunting activity, including hunter
16   education training; or
17     (j) persons operating a program in a sensitive location out of their
18   residence, as defined by this section, which is licensed, certified,
19   authorized, or funded by the state or a municipality, so long as such
20   possession is in compliance with any rules or regulations applicable to
21   the operation of such program and use or storage of firearms.
22     Criminal possession of a firearm, rifle or shotgun in a sensitive
23   location is a class E felony.
24     § 5. The penal law is amended by adding a new section 265.01-d to read
25   as follows:
26   § 265.01-d Criminal possession of a weapon in a restricted location.
27     1. A person is guilty of criminal possession of a weapon in a
28   restricted location when such person possesses a firearm, rifle, or
29   shotgun and enters into or remains on or in private property where such
30   person knows or reasonably should know that the owner or lessee of such
31   property has not permitted such possession by clear and conspicuous
32   signage indicating that the carrying of firearms, rifles, or shotguns on
33   their property is permitted or has otherwise given express consent.
34     2. This section shall not apply to:
35     (a) police officers as defined in section 1.20 of the criminal proce-
36   dure law;
37     (b) persons who are designated peace officers as defined in section
38   2.10 of the criminal procedure law;
39     (c) persons who were employed as police officers as defined in section
40   1.20 of the criminal procedure law, but are retired;
41     (d) security guards as defined by and registered under article seven-A
42   of the general business law who has been granted a special armed regis-
43   tration card, while at the location of their employment and during their
44   work hours as such a security guard;
45     (e) active-duty military personnel;
46     (f) persons licensed under paragraph (c), (d) or (e) of subdivision
47   two of section 400.00 of this chapter while in the course of his or her
48   official duties; or
49     (g) persons lawfully engaged in hunting activity.
50     Criminal possession of a weapon in a restricted location is a class E
51   felony.
52     § 6. Subdivision a of section 265.20 of the penal law is amended by
53   adding a new paragraph 3-a to read as follows:
54     3-a. Possession of a pistol or revolver by a person undergoing live-
55   fire range training pursuant to section 400.00 of this chapter while
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 1   such person is undergoing such training and is supervised by a duly
 2   authorized instructor.
 3     § 7. Section 400.02 of the penal law, as amended by chapter 244 of the
 4   laws of 2019, is amended to read as follows:
 5   § 400.02 Statewide license and record database.
 6     1. There shall be a statewide license and record database which shall
 7   be created and maintained by the division of state police the cost of
 8   which shall not be borne by any municipality. Records assembled or
 9   collected for purposes of inclusion in such database shall not be
10   subject to disclosure pursuant to article six of the public officers
11   law. [Records] All records containing granted license applications from
12   all licensing authorities shall be [periodically] monthly checked by the
13   division of criminal justice services in conjunction with the division
14   of state police against criminal conviction, criminal indictment, mental
15   health, extreme risk protection orders, orders of protection, and all
16   other records as are necessary to determine their continued accuracy as
17   well as whether an individual is no longer a valid license holder. The
18   division of criminal justice services shall also check pending applica-
19   tions made pursuant to this article against such records to determine
20   whether a license may be granted. All state and local agencies shall
21   cooperate with the division of criminal justice services, as otherwise
22   authorized by law, in making their records available for such checks.
23   The division of criminal justice services, upon determining that an
24   individual is ineligible to possess a license, or is no longer a valid
25   license holder, shall notify the applicable licensing official of such
26   determination and such licensing official shall not issue a license or
27   shall revoke such license and any weapons owned or possessed by such
28   individual shall be removed consistent with the provisions of subdivi-
29   sion eleven of section 400.00 of this article. Local and state law
30   enforcement shall have access to such database in the performance of
31   their duties. Records assembled or collected for purposes of inclusion
32   in the database established by this section shall be released pursuant
33   to a court order.
34     2. There shall be a statewide license and record database specific for
35   ammunition sales which shall be created and maintained by the division
36   of state police the cost of which shall not be borne by any municipality
37   no later than thirty days upon designating the division of state police
38   as the point of contact to perform both firearm and ammunition back-
39   ground checks under federal and state law. Records assembled or
40   collected for purposes of inclusion in such database shall not be
41   subject to disclosure pursuant to article six of the public officers
42   law. All records containing granted license applications from all
43   licensing authorities shall be monthly checked by the division of crimi-
44   nal justice services in conjunction with the division of state police
45   against criminal conviction, criminal indictments, mental        health,
46   extreme risk protection orders, orders of protection, and all other
47   records as are necessary to determine their continued accuracy as well
48   as whether an individual is no longer a valid license holder. The divi-
49   sion of criminal justice services shall also check pending applications
50   made pursuant to this article against such records to determine whether
51   a license may be granted. All state and local agencies shall cooperate
52   with the division of criminal justice services, as otherwise authorized
53   by law, in making their records available for such checks. No later than
54   thirty days after the superintendent of the state police certifies that
55   the statewide license and record database established pursuant to this
56   section and the statewide license and record database established for
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 1   ammunition sales are operational for the purposes of this section, a
 2   dealer in firearms licensed pursuant to section 400.00 of this article,
 3   a seller of ammunition as defined in subdivision twenty-four of section
 4   265.00 of this chapter shall not transfer any ammunition to any other
 5   person who is not a dealer in firearms as defined in subdivision nine of
 6   such section 265.00 or a seller of ammunition as defined in subdivision
 7   twenty-four of section 265.00 of this chapter, unless:
 8     (a) before the completion of the transfer, the licensee or seller
 9   contacts the statewide license and record database and provides the
10   database with information sufficient to identify such dealer or seller
11   transferee based on information on the transferee's identification docu-
12   ment as defined in paragraph (c) of this subdivision, as well as the
13   amount, caliber, manufacturer's name and serial number, if any, of such
14   ammunition;
15     (b) the licensee or seller is provided with a unique identification
16   number; and
17     (c) the transferor has verified the identity of the transferee by
18   examining a valid state identification document of the transferee issued
19   by the department of motor vehicles or if the transferee is not a resi-
20   dent of the state of New York, a valid identification document issued by
21   the transferee's state or country of residence containing a photograph
22   of the transferee.
23     § 8. Subdivisions 2 and 6 of section 400.03 of the penal law, as added
24   by chapter 1 of the laws of 2013, are amended to read as follows:
25     2. Any seller of ammunition or dealer in firearms shall keep [a record
26   book] either an electronic record, or dataset, or an           organized
27   collection of structured information, or data, typically stored elec-
28   tronically in a computer system approved as to form by the superinten-
29   dent of state police. In the record [book] shall be entered at the time
30   of every transaction involving ammunition the date, name, age, occupa-
31   tion and residence of any person from whom ammunition is received or to
32   whom ammunition is delivered, and the amount, calibre, manufacturer's
33   name and serial number, or if none, any other distinguishing number or
34   identification mark on such ammunition. [The record book shall be main-
35   tained on the premises mentioned and described in the license and shall
36   be open at all reasonable hours for inspection by any peace officer,
37   acting pursuant to his or her special duties, or police officer. Any
38   record produced pursuant to this section and any transmission thereof to
39   any government agency shall not be considered a public record for
40   purposes of article six of the public officers law.]
41     6. If the superintendent of state police certifies that background
42   checks of ammunition purchasers may be conducted through the national
43   instant criminal background check system or through the division of
44   state police once the division has been designated point of contact, use
45   of that system by a dealer or seller shall be sufficient to satisfy
46   subdivisions four and five of this section and such checks shall be
47   conducted through such system, provided that a record of such trans-
48   action shall be forwarded to the state police in a form determined by
49   the superintendent.
50     § 9. Section 265.45 of the penal law, as amended by chapter 133 of the
51   laws of 2019, is amended to read as follows:
52   § 265.45 Failure to safely store rifles, shotguns, and firearms in the
53               first degree.
54     1. No person who owns or is custodian of a rifle, shotgun or firearm
55   who resides with an individual who: (i) is under [sixteen] eighteen
56   years of age; (ii) such person knows or has reason to know is prohibited
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 1   from possessing a rifle, shotgun or firearm pursuant to a temporary or
 2   final extreme risk protection order issued under article sixty-three-A
 3   of the civil practice law and rules or 18 U.S.C. § 922(g) (1), (4), (8)
 4   or (9); or (iii) such person knows or has reason to know is prohibited
 5   from possessing a rifle, shotgun or firearm based on a conviction for a
 6   felony or a serious offense, shall store or otherwise leave such rifle,
 7   shotgun or firearm out of his or her immediate possession or control
 8   without having first securely locked such rifle, shotgun or firearm in
 9   an appropriate safe storage depository or rendered it incapable of being
10   fired by use of a gun locking device appropriate to that weapon.
11     2. No person shall store or otherwise leave a rifle, shotgun, or
12   firearm out of his or her immediate possession or control inside a vehi-
13   cle without first removing the ammunition from and securely locking such
14   rifle, shotgun, or firearm in an appropriate safe storage depository out
15   of sight from outside of the vehicle.
16     3. For purposes of this section "safe storage depository" shall mean a
17   safe or other secure container which, when locked, is incapable of being
18   opened without the key, keypad, combination or other unlocking mechanism
19   and is capable of preventing an unauthorized person from obtaining
20   access to and possession of the weapon contained therein and shall be
21   fire, impact, and tamper resistant. Nothing in this section shall be
22   deemed to affect, impair or supersede any special or local act relating
23   to the safe storage of rifles, shotguns or firearms which impose addi-
24   tional requirements on the owner or custodian of such weapons. For the
25   purposes of subdivision two of this section, a glove compartment or
26   glove box shall not be considered an appropriate safe storage deposito-
27   ry.
28     4. It shall not be a violation of this section to allow a person less
29   than [sixteen] eighteen years of age access to: (i) a firearm, rifle or
30   shotgun for lawful use as authorized under paragraph seven or seven-e of
31   subdivision a of section 265.20 of this article, or (ii) a rifle or
32   shotgun for lawful use as authorized by article eleven of the environ-
33   mental conservation law when such person less than [sixteen] eighteen
34   years of age is the holder of a hunting license or permit and such rifle
35   or shotgun is used in accordance with such law.
36     Failure to safely store rifles, shotguns, and firearms in the first
37   degree is a class A misdemeanor.
38     § 10. The penal law is amended by adding a new section 400.30 to read
39   as follows:
40   § 400.30 Application.
41     Nothing in this article shall be construed to impair or in any way
42   prevent the enactment or application of any local law, code, ordinance,
43   rule or regulation that is more restrictive than any requirement set
44   forth in or established by this article.
45     § 11. Section 270.20 of the penal law, as added by chapter 56 of the
46   laws of 1984, and subdivision 1 as amended by chapter 317 of the laws of
47   2001, is amended to read as follows:
48   § 270.20 Unlawful wearing of [a] body [vest] armor.
49     1. A person is guilty of the unlawful wearing of [a] body [vest] armor
50   when acting either alone or with one or more other persons he commits
51   any violent felony offense defined in section 70.02 while possessing a
52   firearm, rifle or shotgun and in the course of and in furtherance of
53   such crime he or she wears [a] body [vest] armor.
54     2. For the purposes of this section [a] "body [vest] armor" means [a
55   bullet-resistant soft body armor providing, as a minimum standard, the
56   level of protection known as threat level I which shall mean at least
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 1   seven layers of bullet-resistant material providing protection from
 2   three shots of one hundred fifty-eight grain lead ammunition fired from
 3   a .38 calibre handgun at a velocity of eight hundred fifty feet per
 4   second] any product that is a personal protective body covering intended
 5   to protect against gunfire, regardless of whether such product is to be
 6   worn alone or is sold as a complement to another product or garment.
 7     The unlawful wearing of [a] body [vest] armor is a class E felony.
 8     § 12. Section 270.21 of the penal law, as added by chapter 210 of the
 9   laws of 2022, is amended to read as follows:
10   § 270.21 Unlawful purchase of [a] body [vest] armor.
11     A person is guilty of the unlawful purchase of [a] body [vest] armor
12   when, not being engaged or employed in an eligible profession, they
13   knowingly purchase or take possession of [a] body [vest] armor, as such
14   term is defined in subdivision two of section 270.20 of this article.
15   This section shall not apply to individuals or entities engaged or
16   employed in eligible professions, which shall include police officers as
17   defined in section 1.20 of the criminal procedure law, peace officers as
18   defined in section 2.10 of the criminal procedure law, persons in mili-
19   tary service in the state of New York or military or other service for
20   the United States, and such other professions designated by the depart-
21   ment of state in accordance with section one hundred forty-four-a of the
22   executive law.
23     Unlawful purchase of [a] body [vest] armor is a class A misdemeanor
24   for a first offense and a class E felony for any subsequent offense.
25     § 13. Section 270.22 of the penal law, as added by chapter 210 of the
26   laws of 2022, is amended to read as follows:
27   § 270.22 Unlawful sale of [a] body [vest] armor.
28     A person is guilty of the unlawful sale of [a] body [vest] armor when
29   they sell, exchange, give or dispose of [a] body [vest] armor, as such
30   term is defined in subdivision two of section 270.20 of this article, to
31   an individual whom they know or reasonably should have known is not
32   engaged or employed in an eligible profession, as such term is defined
33   in section 270.21 of this article.
34     Unlawful sale of [a] body [vest] armor is a class A misdemeanor for
35   the first offense and a class E felony for any subsequent offense.
36     § 14. Section 396-eee of the general business law, as added by chapter
37   210 of the laws of 2022, is amended to read as follows:
38     § 396-eee. Unlawful sale or delivery of body [vests] armor.     1. No
39   person, firm or corporation shall sell or deliver body [vests] armor to
40   any individual or entity not engaged or employed in an eligible profes-
41   sion, and except as provided in subdivision [three] two of this section,
42   no such sale or delivery shall be permitted unless the transferee meets
43   in person with the transferor to accomplish such sale or delivery.
44     2. The provisions of subdivision one of this section regarding in
45   person sale or delivery shall not apply to purchases made by federal,
46   state, or local government agencies for the purpose of furnishing such
47   body [vests] armor to employees in eligible professions.
48     3. For the purposes of this section, "body [vest] armor" shall have
49   the same meaning as defined in subdivision two of section 270.20 of the
50   penal law.
51     4. Any person, firm or corporation that violate the provisions of this
52   section shall be guilty of a violation punishable by a fine in an amount
53   not to exceed five thousand dollars for the first offense and in an
54   amount not to exceed ten thousand dollars for any subsequent offense.
55     § 15. Section 144-a of the executive law, as added by chapter 210 of
56   the laws of 2022, is amended to read as follows:
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 1     § 144-a. Eligible professions for the purchase, sale, and use of body
 2   [vests] armor. The secretary of state in consultation with the division
 3   of criminal justice services, the division of homeland security and
 4   emergency services, the department of corrections and community super-
 5   vision, the division of the state police, and the office of general
 6   services shall promulgate rules and regulations to establish criteria
 7   for eligible professions requiring the use of [a] body [vest] armor, as
 8   such term is defined in subdivision two of section 270.20 of the penal
 9   law. Such professions shall include those in which the duties may expose
10   the individual to serious physical injury that may be prevented or miti-
11   gated by the wearing of [a] body [vest] armor. Such rules and regu-
12   lations shall also include a process by which an individual or entity
13   may request that the profession in which they engage be added to the
14   list of eligible professions, a process by which the department shall
15   approve such professions, and a process by which individuals and enti-
16   ties may present proof of engagement in eligible professions when
17   purchasing [a] body [vest] armor.
18     § 16. The executive law is amended by adding a new section 228 to read
19   as follows:
20     § 228. National instant criminal background checks. 1. (a) The divi-
21   sion is hereby authorized and directed to serve as a state point of
22   contact for implementation of 18 U.S.C. sec. 922 (t), all federal regu-
23   lations and applicable guidelines adopted pursuant thereto, and the
24   national instant criminal background check system for the purchase of
25   firearms and ammunition.
26     (b) Upon receiving a request from a licensed dealer pursuant to
27   section eight hundred ninety-six or eight hundred ninety-eight of the
28   general business law, the division shall initiate a background check by
29   (i) contacting the National Instant Criminal Background Check System
30   (NICS) or its successor to initiate a national instant criminal back-
31   ground check, and (ii) consulting the statewide firearms license and
32   records database established pursuant to subdivision three of this
33   section, in order to determine if the purchaser is a person described in
34   sections 400.00 and 400.03 of the penal law, or is prohibited by state
35   or federal law from possessing, receiving, owning, or purchasing a
36   firearm or ammunition.
37     2. (a) The division shall report the name, date of birth and physical
38   description of any person prohibited from possessing a firearm pursuant
39   to 18 U.S.C. sec. 922(g) or (n) to the national instant criminal back-
40   ground check system index, denied persons files.
41     (b) Information provided pursuant to this section shall remain privi-
42   leged and confidential, and shall not be disclosed, except for the
43   purpose of enforcing federal or state law regarding the purchase of
44   firearms or ammunition.
45     (c) Any background check conducted by the division, or delegated
46   authority, of any applicant for a permit, firearms identification card
47   license, ammunition sale, or registration, in accordance with the
48   requirements of section 400.00 of the penal law, shall not be considered
49   a public record and shall not be disclosed to any person not authorized
50   by law or this chapter to have access to such background check, includ-
51   ing the applicant. Any application for a permit, firearms identification
52   card, ammunition sale, or license, and any document reflecting the issu-
53   ance or denial of such permit, firearms identification card, or license,
54   and any permit, firearms identification card, license, certification,
55   certificate, form of register, or registration statement, maintained by
56   any state or municipal governmental agency, shall not be considered a
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 1   public record and shall not be disclosed to any person not authorized by
 2   law to have access to such documentation, including the applicant,
 3   except on the request of persons acting in their governmental capacities
 4   for purposes of the administration of justice.
 5     3. The division shall create and maintain a statewide firearms license
 6   and records database which shall contain records held by the division
 7   and any records that it is authorized to request from the division of
 8   criminal justice services, office of court administration, New York
 9   state department of health, New York state office of mental health, and
10   other local entities. Such database shall be used for the certification
11   and recertification of firearm permits under section 400.02 of the penal
12   law, assault weapon registration under subdivision sixteen-a of section
13   400.00 of the penal law, and ammunition sales under section 400.03 of
14   the penal law. Such database shall also be used to initiate a national
15   instant criminal background check pursuant to subdivision one of this
16   section upon request from a licensed dealer. The division may create and
17   maintain additional databases as needed to complete background checks
18   pursuant to the requirements of this section.
19     4. The superintendent shall promulgate a plan to coordinate background
20   checks for firearm and ammunition purchases pursuant to this section and
21   to require any person, firm or corporation that sells, delivers or
22   otherwise transfers any firearm or ammunition to submit a request to the
23   division in order to complete the background checks in compliance with
24   federal and state law, including the National Instant Criminal Back-
25   ground Check System (NICS), in New York state. Such plan shall include,
26   but shall not be limited to, the following features:
27     (a) The creation of a centralized bureau within the division to
28   receive and process all background check requests, which shall include a
29   contact center unit and an appeals unit. Staff may include but is not
30   limited to: bureau chief, supervisors, managers, different levels of
31   administrative analysts, appeals specialists and administrative person-
32   nel. The division shall employ and train such personnel to administer
33   the provisions of this section.
34     (b) Procedures for carrying out the duties under this section, includ-
35   ing hours of operation.
36     (c) An automated phone system and web-based application system,
37   including a toll-free telephone number and/or web-based application
38   option for any licensed dealer requesting a background check in order to
39   sell, deliver or otherwise transfer a firearm which shall be operational
40   every day that the bureau is open for business for the purpose of
41   responding to requests in accordance with this section.
42     5. (a) Each licensed dealer that submits a request for a national
43   instant criminal background check pursuant to this section shall pay a
44   fee imposed by the bureau for performing such background check. Such fee
45   shall be allocated to the background check fund established pursuant to
46   section ninety-nine-pp of the state finance law. The amount of the fee
47   shall not exceed the total amount of direct and indirect costs incurred
48   by the bureau in performing such background check.
49     (b) The bureau shall transmit all moneys collected pursuant to this
50   paragraph to the state comptroller, who shall credit the same to the
51   background check fund.
52     6. On January fifteenth of each calendar year, the bureau shall submit
53   a report to the governor, the temporary president of the senate, and the
54   speaker of the assembly concerning:
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 1     a. the number of employees used by the bureau in the preceding year
 2   for the purpose of performing background checks pursuant to this
 3   section;
 4     b. the number of background check requests received and processed
 5   during the preceding calendar year, including the number of "proceed"
 6   responses and the number and reasons for denials;
 7     c. the calculations used to determine the amount of the fee imposed
 8   pursuant to this paragraph.
 9     7. Within sixty days of the effective date of this section, the super-
10   intendent shall notify each licensed dealer holding a permit to sell
11   firearms of the requirement to submit a request to the division to
12   initiate a background check pursuant to this section as well as the
13   following means to be used to apply for background checks:
14     i. any person, firm or corporation that sells, delivers or otherwise
15   transfers firearms shall obtain a completed ATF 4473 form from the
16   potential buyer or transferee including name, date of birth, gender,
17   race, social security number, or other identification numbers of such
18   potential buyer or transferee and shall have inspected proper identifi-
19   cation including an identification containing a photograph of the poten-
20   tial buyer or transferee.
21     ii. it shall be unlawful for any person, in connection with the sale,
22   acquisition or attempted acquisition of a firearm from any transferor,
23   to willfully make any false, fictitious oral or written statement or to
24   furnish or exhibit any false, fictitious, or misrepresented identifica-
25   tion that is intended or likely to deceive such transferor with respect
26   to any fact material to the lawfulness of the sale or other disposition
27   of such firearm under federal or state law. Any person who violates the
28   provisions of this subparagraph shall be guilty of a class A misdemea-
29   nor.
30     8. Any potential buyer or transferee shall have thirty days to appeal
31   the denial of a background check, using a form established by the super-
32   intendent.    Upon receipt of an appeal, the division shall provide such
33   applicant a reason for a denial within thirty days. Upon receipt of the
34   reason for denial, the appellant may appeal to the attorney general.
35     § 17. Subdivision 2 of section 898 of the general business law, as
36   added by chapter 129 of the laws of 2019, is amended to read as follows:
37     2. Before any sale, exchange or disposal pursuant to this article, a
38   national instant criminal background check must be completed by a dealer
39   who [consents] shall submit a request to the division of state police
40   pursuant to section two hundred twenty-eight of the executive law to
41   conduct such check[, and upon completion of such background check, shall
42   complete a document, the form of which shall be approved by the super-
43   intendent of state police, that identifies and confirms that such check
44   was performed]. Before a dealer who [consents] has submitted a request
45   to the division of state police to conduct a national instant criminal
46   background check delivers a firearm, rifle or shotgun to any person,
47   either (a) NICS shall have issued a "proceed" response [to the dealer],
48   or (b) thirty calendar days shall have elapsed since the date the dealer
49   [contacted] submitted a request to the division of state police to
50   contact the NICS to initiate a national instant criminal background
51   check and NICS has not notified the [dealer] division of state police
52   that the transfer of the firearm, rifle or shotgun to such person should
53   be denied.
54     § 18. Paragraph (c) of subdivision 1 of section 896 of the general
55   business law, as added by chapter 189 of the laws of 2000, is amended to
56   read as follows:
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 1     (c) coordinate with the division of state police to provide access at
 2   the gun show to [a firearm dealer licensed under federal law who is
 3   authorized to] perform a national instant criminal background check
 4   [where the seller or transferor of a firearm, rifle or shotgun is not
 5   authorized to conduct such a check by (i) requiring firearm exhibitors
 6   who are firearm dealers licensed under federal law and who are author-
 7   ized to conduct a national instant criminal background check to provide
 8   such a check at cost or (ii) designating a specific location at the gun
 9   show where a firearm dealer licensed under federal law who is authorized
10   to conduct a national instant criminal background check will be present
11   to perform such a check at cost] prior to any firearm sale or transfer.
12   Any firearm dealer licensed under federal law who [performs] submits a
13   request to the division of state police to perform a national instant
14   criminal background check pursuant to this paragraph shall provide the
15   seller or transferor of the firearm, rifle or shotgun with a copy of the
16   United States Department of Treasury, Bureau of Alcohol, Tobacco and
17   Firearms Form ATF F 4473 and such dealer shall maintain such form and
18   make such form available for inspection by law enforcement agencies for
19   a period of ten years thereafter.
20     § 19. Subdivision 6 of section 400.03 of the penal law, as added by
21   chapter 1 of the laws of 2013, is amended to read as follows:
22     6. If the superintendent of state police certifies that background
23   checks of ammunition purchasers may be conducted through the national
24   instant criminal background check system, [use of that system by] a
25   dealer or seller shall contact the division of state police to conduct
26   such check which shall be sufficient to satisfy subdivisions four and
27   five of this section [and such checks shall be conducted through such
28   system, provided that a record of such transaction shall be forwarded to
29   the state police in a form determined by the superintendent].
30     § 20. The penal law is amended by adding a new section 400.06 to read
31   as follows:
32   § 400.06 National instant criminal background checks.
33     1. Any dealer in firearms that sells, delivers or otherwise transfers
34   any firearm shall contact the division of state police to conduct a
35   national instant criminal background check pursuant to section two
36   hundred twenty-eight of the executive law.
37     2. Failure to comply with the requirements of this section is a class
38   A misdemeanor.
39     § 21. The state finance law is amended by adding a new section 99-pp
40   to read as follows:
41     § 99-pp. Background check fund. 1. There is hereby established in the
42   joint custody of the state comptroller and commissioner of taxation and
43   finance a special fund to be known as the "background check fund".
44     2. Such fund shall consist of all revenues received by the comp-
45   troller, pursuant to the provisions of section two hundred twenty-eight
46   of the executive law and all other moneys appropriated thereto from any
47   other fund or source pursuant to law. Nothing contained in this section
48   shall prevent the state from receiving grants, gifts or bequests for the
49   purposes of the fund as defined in this section and depositing them into
50   the fund according to law.
51     3. The moneys of the background check fund, following appropriation by
52   the legislature, shall be allocated for the direct costs associated with
53   performing background checks pursuant to section two hundred twenty-
54   eight of the executive law.
55     4. The state comptroller may invest any moneys in the background check
56   fund not expended for the purpose of this section as provided by law.
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 1   The state comptroller shall credit any interest and income derived from
 2   the deposit and investment of moneys in the background check fund to the
 3   background check fund.
 4     5. (a) Any unexpended and unencumbered moneys remaining in the back-
 5   ground check fund at the end of a fiscal year shall remain in the back-
 6   ground check fund and shall not be credited to any other fund.
 7     (b) To the extent practicable, any such remaining funds shall be used
 8   to reduce the amount of the fee described in subdivision two of section
 9   two hundred twenty-eight of the executive law.
10     § 22. Subdivision 19 of section 265.00 of the penal law, as amended by
11   chapter 150 of the laws of 2020, is amended to read as follows:
12     19. "Duly authorized instructor" means (a) a duly commissioned officer
13   of the United States army, navy, marine corps or coast guard, or of the
14   national guard of the state of New York; or (b) a duly qualified adult
15   citizen of the United States who has been granted a certificate as an
16   instructor in small arms practice issued by the United States army, navy
17   or marine corps, or by the adjutant general of this state, or by the
18   division of criminal justice services, or by the national rifle associ-
19   ation of America, a not-for-profit corporation duly organized under the
20   laws of this state; (c) by a person duly qualified and designated by the
21   department of environmental conservation [under paragraph c of subdivi-
22   sion three of section 11-0713 of the environmental conservation law] as
23   its agent in the giving of instruction and the making of certifications
24   of qualification in responsible hunting practices; or (d) a New York
25   state 4-H certified shooting sports instructor.
26     § 23. Subdivision 18 of section 400.00 of the penal law, as added by
27   chapter 135 of the laws of 2019, is amended and a new subdivision 19 is
28   added to read as follows:
29     18. Notice. Upon the issuance of a license, the licensing officer
30   shall issue therewith, and such licensee shall attest to the receipt of,
31   the following [notice] information and notifications: (a) the grounds
32   for which the license issued may be revoked, which shall include but not
33   be limited to the areas and locations for which the licenses issued
34   under paragraph (f) of subdivision two of this section prohibits the
35   possession of firearms, rifles, and shotguns, and that a conviction
36   under sections 265.01-d and 265.01-e of this chapter are felonies for
37   which licensure will be revoked;
38     (b) a notification regarding the requirements for safe storage which
39   shall be in conspicuous and legible twenty-four point type on eight and
40   one-half inches by eleven inches paper stating in bold print the follow-
41   ing:
42     WARNING: RESPONSIBLE FIREARM STORAGE IS THE LAW IN NEW YORK STATE.
43   WHEN STORED IN A HOME FIREARMS, RIFLES, OR SHOTGUNS MUST EITHER BE
44   STORED WITH A GUN LOCKING DEVICE OR IN A SAFE STORAGE DEPOSITORY OR NOT
45   BE LEFT OUTSIDE THE IMMEDIATE POSSESSION AND CONTROL OF THE OWNER OR
46   OTHER LAWFUL POSSESSOR IF A CHILD UNDER THE AGE OF EIGHTEEN RESIDES IN
47   THE HOME OR IS PRESENT, OR IF THE OWNER OR POSSESSOR RESIDES WITH A
48   PERSON PROHIBITED FROM POSSESSING A FIREARM UNDER STATE OR FEDERAL LAW.
49   FIREARMS SHOULD BE STORED [UNLOADED AND LOCKED] BY REMOVING THE AMMUNI-
50   TION FROM AND SECURELY LOCKING SUCH FIREARM IN A LOCATION SEPARATE FROM
51   AMMUNITION. LEAVING FIREARMS ACCESSIBLE TO A CHILD OR OTHER PROHIBITED
52   PERSON MAY SUBJECT YOU TO IMPRISONMENT, FINE, OR BOTH. WHEN STORED IN A
53   VEHICLE OUTSIDE THE OWNER'S IMMEDIATE POSSESSION OR CONTROL, FIREARMS,
54   RIFLES, AND SHOTGUNS MUST BE STORED IN AN APPROPRIATE SAFE STORAGE
55   DEPOSITORY AND OUT OF SIGHT FROM OUTSIDE OF THE VEHICLE.
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 1     (c) any other information necessary to ensure such licensee is aware
 2   of their responsibilities as a license holder.
 3     Nothing in this subdivision shall be deemed to affect, impair or
 4   supersede any special or local law relating to providing notice regard-
 5   ing the safe storage of rifles, shotguns or firearms.
 6     19. Prior to the issuance or renewal of a license under paragraph (f)
 7   of subdivision two of this section, issued or renewed on or after the
 8   effective date of this subdivision, an applicant shall complete an
 9   in-person live firearms safety course conducted by a duly authorized
10   instructor with curriculum approved by the division of criminal justice
11   services and the superintendent of state police, and meeting the follow-
12   ing requirements:   (a) a minimum of sixteen hours of in-person live
13   curriculum approved by the division of criminal justice services and the
14   superintendent of state police, conducted by a duly authorized instruc-
15   tor approved by the division of criminal justice services, and shall
16   include but not be limited to the following topics: (i) general firearm
17   safety; (ii) safe storage requirements and general secure storage best
18   practices; (iii) state and federal gun laws; (iv) situational awareness;
19   (v) conflict de-escalation; (vi) best practices when encountering law
20   enforcement; (vii) the statutorily defined sensitive places in subdivi-
21   sion two of section 265.01-e of this chapter and the restrictions on
22   possession on restricted places under section 265.01-d of this chapter;
23   (viii) conflict management; (ix) use of deadly force; (x) suicide
24   prevention; and (xi) the basic principles of marksmanship; and (b) a
25   minimum of two hours of a live-fire range training course. The applicant
26   shall be required to demonstrate proficiency by scoring a minimum of
27   eighty percent correct answers on a written test for the curriculum
28   under paragraph (a) of this subdivision and the proficiency level deter-
29   mined by the rules and regulations promulgated by the division of crimi-
30   nal justice services and the superintendent of state police for the
31   live-fire range training under paragraph (b) of this subdivision. Upon
32   demonstration of such proficiency, a certificate of completion shall be
33   issued to such applicant in the applicant's name and endorsed and
34   affirmed under the penalties of perjury by such duly authorized instruc-
35   tor. An applicant required to complete the training required herein
36   prior to renewal of a license issued prior to the effective date of this
37   subdivision shall only be required to complete such training for the
38   first renewal of such license after such effective date.
39     § 24. Subdivisions 11 and 12 of section 265.00 of the penal law are
40   amended to read as follows:
41     11. "Rifle" means a weapon designed or redesigned, made or remade, and
42   intended to be fired from the shoulder and designed or redesigned and
43   made or remade to use the energy of the explosive [in a fixed metallic
44   cartridge] to fire only a single projectile through a rifled bore for
45   each single pull of the trigger using either: (a) fixed metallic
46   cartridge; or (b) each projectile and explosive charge are loaded indi-
47   vidually for each shot discharged. In addition to common, modern usage,
48   rifles include those using obsolete ammunition not commonly available in
49   commercial trade, or that load through the muzzle and fire a single
50   projectile with each discharge, or loading, including muzzle loading
51   rifles, flintlock rifles, and black powder rifles.
52     12. "Shotgun" means a weapon designed or redesigned, made or remade,
53   and intended to be fired from the shoulder and designed or redesigned
54   and made or remade to use the energy of the explosive [in a fixed shot-
55   gun shell] to fire through a smooth or rifled bore either a number of
56   ball shot or a single projectile for each single pull of the trigger
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 1   using either: (a) a fixed shotgun shell; or (b) a projectile or number
 2   of ball shot and explosive charge are loaded individually for each shot
 3   discharged. In addition to common, modern usage, shotguns include those
 4   using obsolete ammunition not commonly available in commercial trade, or
 5   that load through the muzzle and fires ball shot with each discharge, or
 6   loading, including muzzle loading shotguns, flintlock shotguns, and
 7   black powder shotguns.
 8     § 25. Severability. If any clause, sentence, paragraph or section of
 9   this act shall be adjudged by any court of competent jurisdiction to be
10   invalid, the judgment shall not affect, impair or invalidate the remain-
11   der thereof, but shall be confined in its operation to the clause,
12   sentence, paragraph or section thereof directly involved in the contro-
13   versy in which the judgment shall have been rendered.
14     § 26. This act shall take effect on the first of September next
15   succeeding the date on which it shall have become a law; provided,
16   however:
17     (a) the amendments to subdivision 1 and subdivision 4-b of section
18   400.00 of the penal law made by section one of this act shall apply only
19   to licenses for which an application is made on or after the effective
20   date of this act;
21     (b) if chapter 208 of the laws of 2022 shall not have taken effect on
22   or before such date then the amendments made to paragraph (j) of subdi-
23   vision one of section 400.00 of the penal law made by section one of
24   this act shall take effect on the same date and in the same manner as
25   such chapter of the laws of 2022, takes effect;
26     (c) the amendments to sections 270.20, 270.21 and 270.22 of the penal
27   law made by sections eleven, twelve and thirteen of this act, the amend-
28   ments to section 396-eee of the general business law as amended by
29   section fourteen of this act, and the amendments to section 144-a of the
30   executive law as amended by section fifteen of this act, shall take
31   effect on the same date and in the same manner as chapter 210 of the
32   laws of 2022, takes effect;
33     (d) if chapter 207 of the laws of 2022 shall not have taken effect on
34   or before such date then the amendments to subdivision 11 of section
35   400.00 of the penal law made by section one of this act shall take
36   effect on the same date and in the same manner as such chapter of the
37   laws of 2022, takes effect;
38     (e) if chapter 212 of the laws of 2022 shall not have taken effect on
39   or before such date then the amendments to subdivision 2 of section
40   400.00 of the penal law made by section one of this act shall take
41   effect on the same date and in the same manner as such chapter of the
42   laws of 2022, takes effect;
43     (f) sections sixteen, seventeen, eighteen, nineteen, twenty, twenty-
44   one and twenty-two shall take effect July 15, 2023; and
45     (g) subdivision 4-a of section 400.00 of the penal law, as amended by
46   section one of this act, shall take effect April 1, 2023.
